Case 1:16-cV-00810-GLR Document 15 Filed 09/23/16 Page 1 of 12
Case l:lG»cv-OOBlO-GLR Doeument 14»2 Filed 09!07!16 Page 1 of 12

IN THE UNITED STATES DISTRICT C()URT FOR THE

DIS’I`RICT OF MARYLAND
UNI‘[`ED STATES OF AMERICA.
P|aintif`f`, Case I:l6~cv-08]0
v.

.l.A. SUBWAY. lNC., and JAMIU LAWAI_.,

Defendants.

 

DEFAULT JUDGMENT AND ORDER FOR PERMANENT INJUNCTION

The plaintiff5 the United States ofAmerica, commenced this civil action under 26 U.S.C.
§ ?402(a) to collect the federal employment and unemployment taxes, penalties and statutory
interest assessed against the defendant taxpayer, J.A. Subway. for the taxable periods between
2004 and 20]5_. and to permanently enjoin the defendants, .].A. Subway and Jamiu Lawal. f`rorn
violating and interfering with the administration ofthe internal revenue laws` and compelling the
defendants to: (l) timely file the employment and unemployment tax returns l`or J.A. Subway;
(2) timer collect and pay over to the Intemal Revenue Service J.A. Subway`s accruing federal
employment and unemployment taxes; and (3) tile J.A. Subway`s delinquent employment,
unemployment, and income tax retums. (D.E. No. l.) 'I`he defendants, .I.A. Subway and Jamiu
Lawal, f`ailed to file an answer or otherwise defend in this action, and the Clerk entered the
default ofthe defendant on .lune 22, 20!6. (D.E. No. 13.)

The United States has now moved for the entry of` a default judgment against .I.A.
Subway for the total amount of the federal employment and unemployment laxes, penalties and

interest owed by it as ot` August 31. 2016. in the amount of $26?,69?.| l plus statutory additions

 

Case 1:16-cV-00810-GLR Document 15 Filed 09/23/16 Page 2 of 12
Case l:lG-cv-OOSlO-GLR Document 14-2 Filed 0910?!16 Page 2 of 12

to tax accruing thereafter. along with a permanent injunction against it and Lawal and for other
equitable relief.

The Court, having considered the United States` motion for a default judgment with
respect to J.A. Suhway’s unpaid federal tax liabilities. and for the entry of a permanent
injunction under 26 U.S.C. § 7402 requiring J.A. Subway and Lawa| to comply with the internal
revenue laws by timely reporting, depositing, and paying over J.A. Subway’s federal
employment and unemployment taxes, the Declarations of Revenue Oft"tcer Kinaberly Saul and
Maragaret Ament, and the entire record in this matter, hereby GRANTS the United States"
motion, and IT IS HEREBY FUR'I`HER ORDERED, ADJUDGED, AND DECREED as
follows:

DEFAULT JUDGMENT

l. This is an action by the United States instituted under section 7402(a) of the
Internal Revenue Code (26 U.S.C.). The complaint seeks both legal and equitable relief in
connection with the alleged failure ofthe defendants .l,A. Subway and Lawal, to collect and pay
over to the United States the federal income and Federal lnsurance Contributions Act (FICA)
taxes that J.A. Subway was required to withhold from the wages paid to its employees, and to
deposit those funds, along with the employer’s share of FICA taxes and Federal Urtemployment
Tax Act (FU’I`A) taxes_. in an appropriate federal depository institutionl

2. This Court has jurisdiction over the subject matter of this case and hasjurisdiction
over the defendants, J.A. Subway and Lawal, pursuant to 26 U.S.C. § 7402(a) and 28 U.S,C. §§
1340 and 1345.

3. Venue is proper in thisjudicial district under 28 U.S.C.§ l39l(b).

 

Case 1:16-cV-00810-GLR Document 15 Filed 09/23/16 Page 3 of 12
Case 1:16-cv-00810-GLR Document 14~2 Filed 09)'07/16 Page 3 of 12

4. The defendants, J.A. Subway and Lawal, have been properly served with the
summons and complaint in this action, as required by Fed. R. Civ. P. 4.

5. The defendants have failed to answer or otherwise defend in this action. The
Clerk ofthe Court properly entered the default ofthe defendant on .lune 22, 201 6.

6. Because of the defendants’ default, the allegations in the complaint filed in this
action are taken as true.

'r'. As alleged in count l of the complaint, a delegate of the Secretary of the Treasury
properly and timely made assessments against .l.A. Subway for unpaid federal employment
(Form 941) and unemployment (Form 940) taxes and statutory additions to tax for various
taxable periods that ended between March 31_. 2004 through March 31. 2015.

8. Despite notice and demand for payment by the Internal Revenue Service of the
foregoing federal tax liabilities. J.A. Subway failed to pay the federal employment and
unemployment taxes assessed against it.

9. As a result. the Court has determined that as of August 3l, 2016, J.A. Subway is
indebted to the United States for unpaid federal employment taxes in the total amount of

5231,463.85 for the tax periods and in the amounts indicated below:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Tax Period Ending Outstanding Balance as of
08:'31!2016
03!31!2004 $3,184.84
062'30!2004 $3,25 | .4?
09!30!2004 $3,220.42
1213 lf2004 $3,185.02
03!31£2005 $3_.341.06
06130!2005 $3,29?.06
09!30;’2005 $3_.251.38
l2f31!2005 $3,201.70
03!3 112006 $3.597.23
06»‘30!2006 $3,539.94

 

 

Case 1:16-cV-00810-GLR Document 15 Filed 09/23/16 Page 4 of 12
Case l:le-cv-OOBlO-GLR Document 114-2 Filed 09!0?!16 Page 4 of12

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

09:'30!2006 $3,478.65
1251/2006 $3,418.59
03/‘31£200? $3.395.18
06!30!200? $3,258.82
09!30!2007 $3.449.49
l2!31!200? $2,836.19
03)'31)'2008 $4,451.94
06!30!2008 $3,454.48
09:’30/2008 $3,844.40
125 l f2008 $2,939.95
03£3]!2009 $6,051.9|
06!30:’2009 $6,002.42
09,'30!2009 $5,953.42
125 lf2009 $5,904.8?
03)“3]!20|0 $6,546.94
06!30!2010 $?,507.97
09)'30)'20 l 0 $9,277.58
12)'31!2010 $7,367.56
03¢’31!201 l $4,623.41
06£30)'201 l $5,870.21
09;'30£201 l $6,355.14
1231/2011 $6.114.09
03!3 lf2012 $4,950.3l
06)'30)'2012 $5.282.32
09!30!'2012 $4,998.22
12»"31!2012 $8.136.66
03)'31)'2013 $6.247.43
06!30!2013 $6.541.14
09£30)‘2013 $5,835.16
12f31f2013 $5,448.59
03!31)’2014 $4.925.3l
06;'30!'2014 $4,6l l .51
09!30)'2014 $9,543.?2
12f3 l f20| 4 $9,724.14
03!31!‘2015 $9,514.01
TOTAL 3231,436.85

 

 

iO. The Court has also determined that as of August 31, 20 l 6, J.A. Subway is indebted to
the United States for unpaid federal unemployment taxes in the amount of $36_.260.26 for the tax

periods and in the amounts indicated below:

nl

 

Case 1:16-cV-00810-GLR Document 15 Filed 09/23/16 Page 5 of 12
Case l:lB-cv-OOBlO-GLR Document 14~2 Filed 09/0?!16 Page 5 of 12

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Tax Period Eoding Outstanding Balance as of
08!31!2016

12f31f2004 $4,948.6]
12f31f2005 $5_.025.32

l 2113 l f2006 34.606.03
12!31!200? $4.338.04
1233lr2008 $3._?82.49

125 112009 $6.333.28
12!31f2010 $6,106.06

125 1!201 1 $463.73

1281/2012 $473.1')'

12f3l!2013 $I83.63

TOTAL $36,260.26

 

l l. IT IS FURTHER ORDERED that a default judgment shall be entered against .l.A.
Subway by separate document for the unpaid federal employment and unemployment taxes and
statutory additions to tax in the amount of $26?,697.1 l as of August 31, 2016, plus statutory
interest according to law after that date until paid.

ORDER OF PERMANENT INJUNCTION

12 Under 26 U.S.C. § 7402(a), the district courts are authorized to issue injunctions
as may be necessary and appropriate for enforcement of the internal revenue laws. S£ gtite_d
States v. Ernst & Whinncy. 235 F.2d 1296, 1300-01 (l 1th Cir. l984)_. M. M, 420 U.S. 1050
(1985); United States v. Hart, ?01 F.2d 749, 750 (Sth Cir. 1983); United States v. Eltblad_. 232
F.2d 562. 563 (?th Cir. 1984).

13. Sections 3102. 3111, 3301 and 3402 of the lnternal Revenue Code (26 U.S.C.)
require employers such as J.A. Subway to withhold federal income and Federal Insurance
Contributions Act (FICA) taxes from their employees’ wages, and to pay over those
withholdings, along with the employer’s own FICA and Federal Unemployment Tax Act

(FUTA) taxes, to the lnternal Revenue Service.

 

Case 1:16-cV-00810-GLR Document 15 Filed 09/23/16 Page 6 of 12
Case 1:16-cv-00810-GLR Docurnent 14-2 Filed 09!07!16 Page 6 of 12

14. Section 6011 of the Internal Revenue Code and Treas. Reg. § 31.6?01(a)-l
require employers to file Employer’s Quarterly Federal Tax Returns (lRS Forms 941) on at least
a quarterly basis, and to file E`,mployer’s Annual Federa| Unemployment (FU'I`A) Tax Returns
(IRS Forrns 940), with the internal Revcnue Service on an annual basis.

15. J.A. Subway and .lamiu Lawal have interfered with the proper administration ofthe
internal revenue laws by:

(a) Failing to timely file employment tax returns for periods between 2004 and
2015;

(b) Failing to timely file unemployment tax returns for the periods between 2004
and 2015;

(c) Failing to make sufficient tax deposits for employment and unemplolment tax
liabilities as required by law;

(d) Requiring the lnternal Revenue Service to expend considerable resources to
induce the defendants_. .I.A. Suhway and Lawal, to comply with the federal tax
laws by filing notices of federal tax lien and attempting to administratively to
collect the unpaid federal tax liabilities via levy.

16. Code section 7402(3) affords the district courts broad discretion in procedural matters
relating to the enforcement of the tax laws, United States v. Asay, 614 F.2d 655, 661-62 (9th
Cir. 1980). §_e_t_: United States v. Thompson, 395 F. Supp.2d 941. 945-46 (E.D. Cal. 2005)
(flnding that an injunction is appropriate for the enforcement of the internal revenue laws, when
ordering an injunction under section 7402(a)).

17. The Fourth Circuit has not determined whether the equitable factors must be

weighed in cases brought under 26 U.S.C. § ?402(3). In United States v. llenfrow, 612 F.

 

Case 1:16-cV-00810-GLR Document 15 Filed 09/23/16 Page 7 of 12
Case 1:16-cv-00810-GLR Docurnent 14-2 Filed 09/07!16 Page 7 of 12

Supp.2d 622 (E.D.N.C. 2009), the court held that the traditional equitable factors need not be
applied in cases brought under section 7402(3). Contra United States v. Clarkson. 2007 WL
198825')T (D. S.C. July 3. 200?) at *3; United States v. Cohen 222 F.R.D. 652, 654 (W.D. Wash.
2004) {requiring a showing of the traditional equity factors before ordering an injunction under
section '?402(a)).

IS. in this case, even when the traditional equity factors are considered, a permanent
injunction is necessary and appropriate under section 7402(a) because J.A. Subway and Lawal
have violated, and continue to violate the tax laws by refusing to withhold and deposit the taxes
and comply with the filing requirements that apply to employers. An injunction is necessary to
prevent future violations of the law, as the Internal Revenue Service’s attempts to bring the
defendants into compliance have been unsuccessful.

19. The United States lacks an adequate remedy at law to coerce the defendants’
compliance with the internal revenue laws. as evidenced by the defendants’ continual failure to
pay over the withheld federal employment taxes, along with the J.A. Subway’s employer"s share
of FICA and FUTA taxes, to the internal Rcvenue Service.

20. The United States would suffer irreparable injury in the absence of an injunction
in this case ifthe defendants were allowed to continue to refuse to pay over to the lRS the lawful
tax revenues due the govemment. "[T]axes are the lifeblood of government, and their prompt
and certain availability an imperious need.” Bull v. United States, 295 U.S. 247, 259 (1935).
When statutory interest and penalties are taken into consideration, the defendants have deprived
the United States of more than $250,000. The defendants should not be allowed to continue on

their present path of converting the government’s tax monies to their own use.

 

Case 1:16-cV-00810-GLR Document 15 Filed 09/23/16 Page 8 of 12
Case 1:16-cv-OOBlO-GLR Document14-2 Filed 09!071'16 Page 8 of 12

21. Additionaliy. the United States is being banned because it is being required to
devote considerable lRS resources to the tasks of persuading the defendants to comply with the
tax laws_. and attempting to collect the federal taxes that should have been deposited by them.

22. The balance of harms tips sharply in favor of the issuance of an injunction Ifthe
defendants are not restrained from continuing to violate the federal tax laws, the government will
experience irreparable harm in the form of the permanent loss of its tax revenue. Conversely, if
an injunction issues, the defendants, .l.A. Subway and Lawal, will not be hanned because they
will merely be required to obey the same laws as other employersl

23. An injunction would serve the public interest. The tax system relies on employers
to collect employment and unemployment taxes and to pay those taxes over to the United States.
.l.A. Subway and Isawal undermine this system by continuing to accrue or ""pyramid“ J.A.
Subway`s tax liabilities. Enjoining the defendants will protect the public`s interest in the fair
administration of the internal revenue laws and in fair competition by halting these wrongful
practices

24. Accordingly, it is adjudged, determined and decreed that the defendants, J.A.
Subway and .lamiu Lawal, have engaged and arc engaging in conduct that interferes with the
administration of the internal revenue laws, and that injunctive relief under Code section ?402(a)
and the Court’s inherent equity powers is necessary and appropriate to stop that conduct.

25. IT IS FURTHER ORDERED that this injunction is issued to prevent the
defendants. J.A. Subway and Lawal, from further accruing or “pyramiding" their employment
and unemployment tax liabilities by accruing such liabilities beyond the defendants` ability to

pay over the liabilities as they become due.

 

Case 1:16-cV-00810-GLR Document 15 Filed 09/23/16 Page 9 of 12
Case l:lG-cv-OOBlO-GLR Document 14-2 Fi|ecl 09!07)'16 Page 9 of 12

26. This injunction order authorizes enforceable injunctive relief and, if any provision

of this permanent injunction is violated, the injunction can be enforced by the United States or

the Court through the mechanisms set forth below.

2'?. An injunction shall issue as follows from the date ofthis Order:

3.

Parties Covered by lniunction: This injunction binds .I.A. Subway and
Jarniu Lawal, iri his capacity as an officer of.I.A. Subway, as well as their
agents, employees, and persons in concert or participation with them._ in
whatever form they continue to carry on their business.

Withholding Requirement: The defendants, J.A. Subway and Jarniu

 

Lawal shall withhold federal income and FICA taxes from the wages of
J.A. Subway"s employees when those wages are paid, shall keep the
withheld funds in a bank account separate from any operating account or
other accounts, and shall pay the withheld taxes to the Internal Revenue
Service as they become due and payable.

Deposit Reguirements: In accordance with federal deposit regulations1
the defendants shall make timely deposits of withheld federal income and
FlCA taxes, and J.A. Subway’s employer`s share ofFICA and FUTA
taxes in an appropriate federal depository bank each quarter, iri accordance
with the federal deposit regulations

Reporting Reguirements: Within three days after J.A. Subway makes a
federal tax deposit as required by paragraph (c), J.A. Subway and Lawal
shall provide proofto the lntcmal Revenue Service at 190 Admiral

Cochrane Dr., Suite ISO-C Annapolis. MD 21401 or such other location as

 

Case 1:16-cV-00810-GLR Document 15 Filed 09/23/16 Page 10 of 12
Case ltlEi-cv-OOBlO-GLR Document14-2 Filed 09!07/16 Page 10 of 12

the internal Revenue Service may deem appropriate, that the requisite
withheld federal income taxes, FICA taxes (both the employees` withheld
portion and the employer’s portion), and unemployment tax deposits were
timely made.

Return Reguirements: The defendants shall timely file with the IRS all of
J.A. Subway`s employment (Form 941) and unemployment (Fonn 940)
tax returns. Each return shall be considered to be timely filed ifit is filed
before the date it is due or within three days after the return is due. The
defendants shall pay any balance due on those returns upon filing. Within
60 days of this order the defendants shall file all delinquent employment,
unemployment. and income tax returns.

Transfer Prohibition: The defendants are prohibited after the date of this
permanent injunction from assigning any property or making any
disbursements until all income taxes and FICA taxes required to be
withheld from employees’ wages (togcther with the employer`s liability
for FICA taxes and FUTA taxes`) arc in fact paid to the IRS.

Notification of New Business: For the next five years_. the defendant,
.lamiu Lawal, shall notify the lnternal Revenue Service at the address
specified in paragraph d, above, of any new or presently operating
company or entity with which he becomes involved in relation

to federal employment tax withholding depositing, or reporting and

shall also inform the IRS ifthe he or J.A. Subway assumes a new name or

transfers its employees or business operations to another entity. The

10

 

Case 1:16-cV-00810-GLR Document 15 Filed 09/23/16 Page 11 of 12
Case 1:16»cv-00810-GLR Document 14~2 Filed 09107!16 Page 11 of 12

defendants shall notify the Internal Revenue Service within 10 days after
the aforementioned actions.

h. Faiiure to Comply: If the defendants. J.A. Subway and Lawal, or anyone
subject to this injunction violates any part of this injunction, the following
enforcement mechanisms may be taken:

i. the IRS may seize J.A. Subway’s business property or
any other entity that the defendants use, direct` or control
as part oftheir business, and may sell the seized property to
satisfy J.A. Subway"s outstanding tax |iabilities; and

ii. the Court may find the defendants, J.A. Subway and Lawal,
to be in civil or criminal contempt ofthis Court and punish
the violator with a fine, incarceration, or both.

i. Enforcement of lniunction: The United States shall be permitted to issue
discovery requests during the pendency of the injunction to assure that
the defendants are in compliance with the injunction. The Court shall
retain jurisdiction of this action for the purposes of implementing and
enforcing this injunction and entering all additional decrees and orders
necessary and appropriate for the public interest.

28. The defendants shall deliver to all of their current employees a copy of this
Permanent injunction Order.

)'f

i")'

ll

 

Case 1:16-CV-00810-GLR Document 15 Filed 09/23/16 Page 12 of 12
Case l:lS-cv-OOBlO-GLR Document 14-2 Filed 09}0?!16 Page 12 of 12

29. The Clcrk of Court is instructed to enter judgment against the defendants, J.A.

Subway and Jarniu Lawal, and in favor of the United States consistent with this Order.

none ana oRDEREi) ihisZ 3 day or iqwi@"~£""" ,20_[(_0

FOR THE COURT:

H¢~M

 

UNITED STATES DISTRICT JUDGF/

12

 

